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 Kathleen A. McCallister
 Chapter 13 Trustee
 P.O. Box 1150
 Meridian, ID 83680
 (208) 922-5100 - Telephone
 (208) 922-5599 - Facsimile
 kam@kam13trustee.com


                         UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF IDAHO




  IN RE:                                             CHAPTER 13

  JASON S. MONROE                                    CASE NO. 19-00561-JMM

                                                     TRUSTEE’S WITHDRAWAL OF
           Debtor(s).                                MOTION TO DISMISS



        NOW COMES Kathleen A. McCallister, the standing Chapter 13 Trustee for the United
 States Bankruptcy Court for the District of Idaho and withdraws her Motion to Dismiss dated
 May 16, 2022.




        DATED: June 16, 2022

                                                     /s/ Kathleen McCallister
                                                    Kathleen McCallister, Trustee




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 16, 2022, I filed the foregoing electronically
 through the CM/ECF system, which caused the following parties or counsel to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

 Office of the U.S. Trustee
 ustp.region18.bs.ecf@usdoj.gov

 JON R. WILSON
 Attorney at Law
 jon@boiselaw.org


       AND I FURTHER CERTIFY that on such date I served the foregoing on the following
 non CM/ECF Registered Participants in the manner indicated:

        Via first class mail, postage prepaid addressed as follows:

 JASON S. MONROE
 1125 E LOCUST LN
 NAMPA, ID 83686


                                                      /s/ Kathleen McCallister
                                                     Kathleen McCallister, Trustee




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